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9
                            UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11
12
13
                                                              2:19-cv-2188
       SECURITIES AND EXCHANGE                     Case No.
14
       COMMISSION,
                                                   RECOMMENDATION BY
15                                                 PLAINTIFF SECURITIES AND
                   Plaintiff,                      EXCHANGE COMMISSION THAT
16                                                 BRADLEY S. SHARP BE
             vs.                                   APPOINTED PERMANENT
17                                                 RECEIVER
       DIRECT LENDING INVESTMENTS,
18     LLC
19
                   Defendant.
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1           Plaintiff Securities and Exchange Commission (“SEC”) requests the
2     appointment of a permanent receiver over the estate of defendant Direct Lending
3     Investments, LLC, Direct Lending Income Fund, L.P., Direct Lending Income Feeder
4     Fund, Ltd., DLI Capital, Inc., DLI Lending Agent, LLC, and DLI Assets Bravo, LLC
5     and their successors, subsidiaries and affiliated entities (the “Receivership Entity”).
6     The SEC requests that the receiver have the full powers of an equity receiver,
7     including, but not limited to, full power over all funds, assets, collateral, premises,
8     choses in action, books, records, papers, and other real or personal property,
9     including notes, deeds of trust, and other interests in real property, belonging to,
10    being managed by, or in the possession or control of the Receivership Entity.
11          The SEC recommends that Bradley S. Sharp of Development Specialists, Inc.
12    be appointed as the permanent receiver in this action. The SEC has been informed
13    that DLI supports and agrees with this recommendation. Attached hereto as Exhibit 1
14    is a copy of a letter stating Mr. Sharp’s qualifications, and including a proposal to
15    provide services as a receiver, and which includes additional information on
16    Development Specialists, Inc. (“DSI”) and its services. Mr. Sharp sent the
17    information attached hereto as Exhibit 1 to the SEC at the request of counsel for the
18    SEC in this action, who solicited this information in conformity with internal SEC
19    procedures for selecting candidates to recommend for appointment by Federal
20    District Courts as receivers in SEC actions. The SEC obtained proposals from two
21    other qualified receiver candidates as well and evaluated all three proposals before
22    selecting Mr. Sharp as its recommended candidate for receiver. If the Court desires,
23    the SEC will provide information regarding these or other candidates.
24          As described in his proposal materials, Mr. Sharp is the President and CEO of
25    DSI, which has been in the restructuring field since the late 1970s. He has decades of
26    experience serving as the chief restructuring officer (“CRO”) of many large entities,
27    including financial firms. One financial services business for which he served as the
28    CRO was 1 Global Capital LLC, which provided merchant cash advances to small

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1     businesses, and in which there was also a related SEC action. He also currently
2     serves as the CRO in another matter where there is an SEC action, where he was
3     appointed to replace the previous CRO, Woodbridge Group of Companies, which
4     involves more than 8,000 investors and claims of $1 billion. In addition, he has
5     served as a Chapter 11 trustee in numerous matters across California and in other
6     locales. Mr. Sharp has over 20 years’ experience in the field, and previously served
7     as a senior loan officer in banking, so has knowledge and experience pertaining to
8     credit facilities. He is located in Los Angeles, where DLI is located, and his firm,
9     DSI, also has additional professionals with pertinent experience located in Los
10    Angeles.
11          Given this background, the SEC is recommending that Mr. Sharp be appointed
12    as the permanent receiver over the Receivership Entity, for several reasons. Mr.
13    Sharp is the President and CEO of DSI. His and his firm’s experiences are
14    particularly suited to serve as the receiver over DLI, both in terms of his industry
15    experience and his background with large, complex restructuring matters. His
16    background in banking and experience on prior litigated matters suggests that he
17    would be in a position to facilitate an efficient, fair and cost-effective marshaling and
18    preserving of the assets of DLI and the affiliated entities and funds, subject to Court
19    approval. DSI has extensive experience and capacity to perform various ancillary
20    services in-house. In the SEC’s experience, it is more economical to have a receiver
21    that has such capabilities in-house, in contrast to a receiver that would need to hire
22    other professionals to perform necessary receivership duties. As set forth in Exhibit
23    1, Mr. Sharp will discount his regularly hourly rate by 20% to $550 per hour, and the
24    rates of other DSI team members by 15%. He proposes to have several colleagues
25    work on the team, all of whom have lower billing rates. All of these rates are within
26    a reasonable range, particularly in view of Mr. Sharp’s substantial comparable
27    experience.
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1           For these reasons, and because of the qualifications set forth in the proposal
2     attached as Exhibit 1 hereto, the SEC respectfully recommends that the Court appoint
3     Mr. Sharp as permanent receiver in this matter.
4      Dated: March 22, 2019                         Respectfully submitted,
5
6                                                    /s/ Amy Jane Longo
                                                     Amy Jane Longo
7                                                    Christopher Nowlin
8                                                    Attorneys for Plaintiff
                                                     Securities and Exchange Commission
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                             EXHIBIT 1
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 BRADLEY D. SHARP

 President & CEO
 DEVELOPMENT SPECIALISTS, INC.
 333 South Grand Avenue, Suite 4070
 Los Angeles, California 90071


 Range of Experience

 Mr. Sharp has substantial experience in acting as a fiduciary as well as providing crisis
 management and consulting services to companies in various industries including real estate,
 food manufacturing, consumer finance, high tech and agriculture. He has consulted with,
 operated and sold publicly and privately-held troubled companies in and out of bankruptcy. Mr.
 Sharp has also provided expert witness services with respect to fiduciary duty, banking, finance
 and securitizations.

 Professional and Business History

 Development Specialists, Inc.

 Since joining DSI, Mr. Sharp has been involved as management and as fiduciary. For example:

    x   Chief Restructuring Officer of 1 Global Capital, LLC, a company that provided merchant
        cash advances to business using more than $300 million raised from individual investors.
    x   Chief Restructuring Officer of Woodbridge Group of Companies, LLC, a real estate
        development company through its 305 related debtors with more than 8,000 investors and
        claims of $1 billion.
    x   Chief Restructuring Officer of Variant Holding Company, LLC, parent company
        controlling 26 different multi-family properties with more than 8,000 units in 5 states.
    x   Chapter 11 Trustee for Namco Capital Group, Inc., a West Los Angeles-based real estate
        investment company through which $3 billion flowed between 2003 and 2008 with
        investments in over 100 real estate projects
    x   Chapter 11 trustee for SK Foods, LP, a Monterey California based processor of tomato
        products. After the bankruptcy filing, seven senior managers and the owner of the
        company plead guilty to charges including bribery, price-fixing and fraud.
    x   Chief Restructuring Officer for John Laing Homes, an Orange County builder and
        developer of high end homes with 100 project developments across California as well as
        developments in Colorado, Arizona and Texas.
    x   Liquidating Trustee for Vineyard National Bancorp, liquidating assets and administering
        the post-confirmation estate.
    x   Chapter 11 Trustee for Estate Financial Mortgage Fund, LLC, assisting in loan collection
        and real estate development decisions for Estate Financial, Inc.
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                                                        Bradley D. Sharp


 Mr. Sharp has also been involved as a consulting and testifying expert. For example:
    x   Testifying expert in a Florida State Court action with respect to the fiduciary duty of
        officers and directors.
    x   Testifying expert in a Federal District Court action with respect to solvency of a bank
        holding company.
    x   Testifying expert in U.S. Bankruptcy Court with respect to the liquidation value of assets.
    x   Testimony as a U.S. banking expert in the High Court of Justice, Queens Bench Division,
        London England, in a dispute involving two European commercial banks.
    x   Consulting expert to a warehouse lender with respect to the People’s Choice chapter 11
        filing.
    x   Provided an expert opinion with respect to the value of a “sub prime” finance company in
        the Chicago area.
    x   Consulting expert to a finance company with respect to inter-bank issues that resulted
        from a loss on an asset based loan.
    x   Consulting expert regarding litigation on behalf of the holding company of a California
        based savings and loan.

 Security Pacific National Bank / Bank of America, NT&SA

 Prior to joining DSI, Mr. Sharp was a Vice President and Senior Commercial Loan Collection
 Officer with Bank of America, NT&SA with a focus on workouts of unsecured and asset based
 loans. He had been with the bank, through its acquisition of Security Pacific National Bank, since
 1985.

 Education

 Bachelor of Science, Accounting, Mesa State College, Grand Junction, Colorado (1985)

 Professional Affiliations

 Board of Directors, American Bankruptcy Institute




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                                                        Bradley D. Sharp


 Selected Presentations


 AIRA 2018 National Conference
 Nashville, TN June 15, 2018
 Panelist:     The Art of the Turnaround – Advising the Lender

 American Bankruptcy Institute Southwest Bankruptcy Conference
 Corn September 7-9, 2017
 Panelist:    Avoiding Malpractice and Other Common Pitfalls in a Commercial Restructuring
              Case

 2017 William J. O’Neill Great Lakes Regional Bankruptcy Institute
 Clevland, OH May 4, 2017
 Panelist:     Advisory Roles in Today’s Restructuring Universe

 American Bankruptcy Institute Annual Spring Meeting,
 Washington, DC April 18, 2015
 Panelist:    Anatomy of a Chapter 11 Confirmation Hearing

 American Bankruptcy Institute Southwest Bankruptcy Conference
 Las Vegas, NV September 5, 2014
 Panelist:    Plan Confirmation Workshop

 American Bankruptcy Institute Southwest Bankruptcy Conference
 Las Vegas, NV September 15, 2012
 Panelist:    Ethics: Client Issues

 American Bankruptcy Institute Annual Spring Meeting,
 Washington, DC April 21, 2012
 Panelist:    Navigating Ethical Responsibility in a Complex World

 Commercial Law League of America/Nation Conference of Bankruptcy Judges
 Scottsdale, Arizona September 25, 2008
 Panelist:      From a Ripple to a Tsunami: The Impact of the Subprime Meltdown

 Publications

 “Retirement Security: A New Perspective,” The Journal of Private Equity 2005 (co-author)

 “Co-ops Nearing Insolvency Must be Less Cooperative, Governance Challenges Grow for
 Financially Troubled Co-ops,” The Journal of Corporate Renewal 2005 (co-author)




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                          Experts you trust. Insight you need.




                                               Development Specialists, Inc.
                                               March 2019




 March 2019
Chicago                                             1
        | New York | Los Angeles | San Francisco | Miami/Ft. Lauderdale | Wilmington | Columbus | London
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     Fee Information




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  About Us
  The DSI Difference
  As one of the first restructuring firms in the US, DSI has expanded to a leading
  provider of management consulting and financial advisory services, including forensic
  accounting, fraud investigation, financial restructuring, third party fiduciary, expert
  and litigation services.
     Experience: Since 1978, DSI has amassed a diverse group of professionals around
      the country with deep financial, management, fiduciary and accounting
      experience and expertise located in 7 offices throughout the country

     Senior Involvement: Our 18 senior professionals, who have been with DSI for an
      average of over 20 years each, lead and remain integrally involved throughout the
      engagement.
     Middle-Market Focus: We understand the needs and requirements of the middle-
      market. Our clients include businesses, equity holders, boards of directors,
      secured lenders, bondholders, unsecured creditors and creditor committees.
     Independence: We remain steadfastly focused on our clients’ objectives and are
      not compromised by any relationships with other participants in a case.

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  About Us
  Awards and Recognition
  DSI has been consistently recognized as one of the nation’s top turnaround
  management firms.

                           Recognition                           Organization           Year

                     Financial Deal of the Year                  M&A Advisor            2017

        Outstanding Turnaround Management Firm of the Year   Turnaround & Workouts   2003 – 2010
                                                                                     2012 – 2016
                  Distressed M&A Deal of the Year                M&A Advisor            2014



                                         Middle Market Engagements




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  About Us
  Core Competencies
   Turnaround Consulting
      Consensual Restructuring
      Chief Restructuring Officer Services
      Crisis and Interim Management
      Trustee, Receiver, Assignee and Post-Confirmation Services
      Debtor, Creditor and Committee Advisory Services
  Forensic Accounting and Fraud Investigation Services
      Cash Tracing
      Internal Fraud Review
      Expert Witness
      Valuation Disputes
      Bankruptcy Examiner
  Corporate Finance
      Oversight Board Services and Advisory
      Financial Restructuring and Debt Finance
      Acquisitions and Divestitures
      Due Diligence

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  Relevant Case Experience

                                            1 Global Capital, LLC operates in the financial services industry,
                                            providing direct merchant cash advances (“MCAs”) to businesses
                                            across the United States.           Through independent sales
                                            organizations, underwriters and other funding agents, 1 Global
    ——————————————————                      Capital offered a variety of fast and flexible financing options,
      Chief Restructuring Officer and       specializing in MCAs and other unsecured, short-term commercial
       Financial Advisor to Debtor          financing. 1 Global Capital has served businesses in a variety of
    ——————————————————                      industries, including automotive, construction, e-commerce,
                                            events, franchise, hospitality, healthcare, manufacturing, retail,
     Management of a $300 million          restaurant/bar, spa/salon, and transportation.
      portfolio of merchant cash advances
                                            After the SEC alleged possible securities law violations and the
     Forensic investigation of company     U.S. Attorney in the Southern District of Florida opened
      financial activities                  investigations, the company experienced a liquidity crisis and
                                            determined to modify its corporate governance structure by
     Coordination of governmental          appointing a new independent manager and a CRO. Two
      authorities and other case            members of DSI were appointed as the CRO and Deputy CRO to
      stakeholders to maximize recoveries   manage the business, plan and implement a strategy to maximize
                                            assets values, implement overhead reductions, all while in contact
                                            with and providing information to the SEC, U.S. Attorney and
                                            select state authorities who are conducting ongoing investigations.




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  Relevant Case Experience

                                                  Woodbridge was a massive Ponzi scheme raising more than
                                                  $1.2 billion from approximately 10,000 unsuspecting investors
                                                  nationwide. Through over 300 debtor affiliates, Woodbridge
                                                  operated a real estate acquisition and development business with
                                                  over 350 employees in 6 states and owned over 250 residential
    ——————————————————
                                                  properties ranging in value from $50K to over $100M with an
            Chief Restructuring Officer           estimated total value of $750M.
    ——————————————————
                                                  DSI was retained as Chief Restructuring Officer in February 2018
     Conducted forensic accounting to            and, with the assistance of DSI professionals, is managing all
      confirm all historical financial activity   bankruptcy reporting for over 300 debtors, conducting forensic
                                                  accounting to confirm all historical financial activity, reconciling
     Reconciled over 8,000 claims                over 8,000 claims, assisting with the recovery and sale of over
                                                  250 properties.
     Assisted with the recovery and sale of
      over 250 properties

     Managed bankruptcy reporting for over
      300 debtors




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  Relevant Case Experience

                                                DSI served as financial advisor and was appointed Federal
                                                Receiver in a variety of cases involving this leading lender in the
                                                agricultural sector. These engagements typically involve dairy
                                                farms that operate as concentrated animal farming operations
    ——————————————————                          (CAFO) and, as such, are subject to federal and state regulatory
         Financial Advisor                      schemes. Among the tasks performed on behalf of the lender are
             Receiver                           site visits and inspections, securing and winterizing the properties,
    ——————————————————                          maintaining proper permitting, advising on repairs and
                                                improvements to the operating systems of the farms, selling
     Engaged by lender in a variety of         personal subject to the lender’s lien, assessing the health and
      cases, usually dairy farms operating as   welfare of cattle, entering lease agreements where beneficial and
      CAFOs                                     marketing the property and managing the sale process. In each
                                                of these cases, DSI has worked closely with the borrowers, the
     Responsible for the care, marketing       lender, potential buyers and regulatory agencies.
      and sale of real and personal property




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  Proposed Advisory Team | Bradley D. Sharp
  Bradley Sharp is the President & CEO with more than 20 years’ experience providing crisis management,
  financial advisory and third party fiduciary services.
  Mr. Sharp has advised and operated companies in numerous industries including consumer finance, real estate development, high tech,
  manufacturing, food and agriculture. He has served as Chief Restructuring Officer as well as Trustee under Chapter 7, Chapter 11 and post-
  confirmation. He has operated and sold publicly and privately-held troubled companies in and out of bankruptcy. Mr. Sharp is also an expert
  witness with respect to fiduciary duties, banking, finance and securitizations.
  Notable assignments include:
      SK Foods, LP – Chapter 11 Trustee
      Namco Capital Group – Chapter 11 Trustee
      Estate Financial Mortgage Fund – Chapter 11 Trustee
      Variant Holding Company, LLC – Chief Restructuring Officer
      Vineyard National Bancorp. – Post Confirmation Trustee
      HomeFed Corp. – Consulting Expert
      C.M. Meiers Company, Inc. – Chapter 11 Trustee
      Survival Insurance, Inc. – Chapter 11 Trustee
      Viansa Winery & Market Place – Interim CEO
      John Laing Homes – Chief Restructuring Officer
      Reynaldo’s Mexican Food Manufacturer – Chapter 11 Trustee
      Tri Valley Growers, Inc. – Financial Advisor
      AgriBiotech – Financial Advisor
      Commercial Financial Services, Inc. – Post Confirmation Trustee
  Prior to joining DSI, Mr. Sharp was a Vice President and Senior Commercial Loan Collection Officer with Bank of America, NT&SA. He had been
  with the bank, through its acquisition of Security Pacific National Bank, since 1985.
  Mr. Sharp has a Bachelors of Science in accounting, with an emphasis in business computer information systems, from Mesa College in Grand
  Junction, Colorado.




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  Proposed Advisory Team | Thomas P. Jeremiassen
  Tom Jeremiassen is a Senior Managing Director at DSI with more than 20 years of experience providing services
  in bankruptcy, forensic/investigative accounting, and litigation support.
  Mr. Jeremiassen has served as a fiduciary in bankruptcy and other matters, including roles as chapter 11 trustee, chapter 7 trustee, liquidating
  trustee, disbursing agent and receiver. He has served as an accountant and financial advisor for chapter 11 trustees, chapter 7 trustees,
  debtors, creditor committees, examiners, liquidating trustees and receivers in dozens of insolvency matters. He has also been involved in
  numerous engagements in which he provided litigation support, consulting and investigative accounting services related to fraud,
  embezzlement, mismanagement, breach of contract, and other disputes.
  Notable assignments include:
      Adelphia Communications – advisor to creditors committee
      EPD Investment Co. – advisor to chapter 7 trustee
      Estate Financial, Inc. – chapter 11 trustee
      Fuhu, Inc. – advisor to creditors committee
      Girls Gone Wild – post confirmation creditor trustee
      LeNature’s, Inc. – advisor to chapter 11 trustee
      Mike Tyson – turnaround/crisis manager
      National Financial Lending – advisor to receiver
      Rampage Retailing, Inc. – disbursing agent
      Reed Slatkin – advisor to chapter 11 trustee
  Prior to joining DSI, Mr. Jeremiassen was a Managing Director at Berkeley Research Group, LLC. Previously, he was a Director at LECG, LLC;
  and a Partner with Neilson Elggren LLP, following his prior employment at Arthur Andersen LLP and Neilson, Elggren, Durkin & Co.
  Mr. Jeremiassen received a Bachelor of Science in accounting from Pepperdine University. He is a Certified Public Accountant, Certified in
  Financial Forensics, and a Certified Insolvency and Restructuring Advisor.




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  Proposed Advisory Team | Eric J. Held
  Eric Held has over fifteen years of investment banking, private equity and turnaround consulting experience and
  has been with DSI’s Los Angeles office since 2009. During his tenure with DSI, Mr. Held has been involved in a
  number of significant bankruptcy proceedings, general assignments for the benefit of creditors, and
  engagements as financial advisor to Chapter 11 trustees, investors and creditors across multiple industries.
  Notable assignments include:
    Assignment for the Benefit of Creditors – Capital Drywall, LP, Liquidation
    Chapter 11 Bankruptcy – C.M. Meiers
    Chapter 11 Bankruptcy – Survival Insurance
    Financial Advisor – Gryphon Investors
    Financial Advisor – Namco Capital Group, Inc.
    Financial Advisor – Variant Holding Company
  Prior to joining DSI, Mr. Held consulted on numerous capital raising, corporate advisory and turnaround engagements including Advantage
  Rent-A-Car, Dana Corporation and Dura Automotive Systems. Prior to that, Mr. Held was an Associate at GESD Capital Partners, a $250
  million private equity firm focused on investing in middle-market consumer, manufacturing and business services companies. Mr. Held was
  also an Associate in the investment banking division of Citigroup Global Markets, where he advised private equity firms and consumer clients,
  closing on over $10 billion in M&A transactions and capital market offerings.
  Mr. Held has a Master of Business Administration degree from the University of Chicago Booth School of Business and a Bachelor of Science
  degree in Business Administration from California Polytechnic State University, San Luis Obispo. He is a Certified Insolvency and Restructuring
  Advisor, Certified Fraud Examiner and member of the American Bankruptcy Institute, Association of Certified Fraud Examiners, Association of
  Insolvency and Restructuring Advisors, California Bankruptcy Forum and the Turnaround Management Association.




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  Proposed Advisory Team | Nicholas R. Troszak
  Mr. Troszak is a Certified Public Accountant, Certified in Financial Forensics (CPA/CFF), and Certified Insolvency
  and Restructuring Advisor (CIRA) with over 10 years of experience providing services in bankruptcy,
  forensic/investigative accounting, and litigation support.
  Mr. Troszak has served in numerous bankruptcy and insolvency matters, including court appointments as accountant to the trustee,
  accountant to the liquidating estate manager, accountant to the debtor, and financial advisor to the official committee of unsecured
  creditors. His experience includes the investigation of alleged insider dealings, investigation and pursuit of preferences, fraudulent transfers
  and other causes of action, tracing of funds, financial data reconstruction, liquidation analyses, plan preparation, solvency analyses, claims
  resolution, and liquidation of assets. He has advised trustees in operating Chapter 11 companies, developing cash-flow projections, budgeting,
  and managing other day-to-day accounting activities.

  Mr. Troszak has significant training and experience investigating fraud and mismanagement, including financial statement fraud, Ponzi
  schemes, embezzlement schemes, bank fraud, and bankruptcy fraud. He has testified before a federal grand jury regarding the debtor
  conducting and operating an alleged Ponzi scheme. He has also testified in Federal Bankruptcy Court as to the accuracy of the debtor’s
  financial records and accounting procedures.

  Prior to joining DSI, Mr. Troszak was employed by Berkeley Research Group, LLC as Managing Consultant, Senior Managing Consultant and
  Associate Director. He is a graduate of Michigan State University, where he earned his Bachelor’s Degree in Accounting.
  Notable Assignments:
    Accountants to the Chapter 11 and 7 Trustee – Death Row Records, Inc.
    Accountants to the Chapter 11 Trustee – GGW Brands, LLC et al. (Girls Gone Wild)
    Accountants to the Chapter 11 Trustee – Slatkin
    Accountants to the Debtor, Chapter 11 – Michael G. Tyson
    Accountants and Financial Advisors to the Chapter 11 Trustee – Cedar Funding, Inc.
    Accountants and Financial Advisors to the Chapter 11 Trustees – Ezri Namvar and in re Namco Capital Group, Inc.
    Accountants and Financial Advisors to the Chapter 11 Trustee – Galleria USA, Inc. (“GUSA”)
    Accountants to Court-Appointed Expert – Roman Catholic Bishop of San Diego
    Advisor to Creditors Committee – Fuhu, Inc.
    Financial Advisors to Chapter 11 Trustee – Solyndra LLC
    Financial Advisors to Chapter 11 Trustee – State Fish Company

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  Proposed Advisory Team | Shelly L. Cuff
  Shelly Cuff joined DSI’s Chicago office in January 2013. Ms. Cuff’s areas of expertise include forensic accounting
  and financial modeling and analysis.
  Ms. Cuff began her career in Protiviti Inc.’s Litigation, Restructuring and Investigative Services practice. While at Protiviti, Ms. Cuff worked on
  various debtor engagements as well as provided financial analyses and forensic accounting services related to litigation support services.
  Notable assignments include:
     Financial Advisor – Binder & Binder
     Financial Advisor – Laboratory Partners, Inc.
     Financial Advisor – River City Renaissance, LC
     Financial Advisor – SK Foods LP
     Financial Advisor to the Unsecured Creditors’ Committee – Yellow Cab Affiliation, Inc.
     Financial Advisor to the Unsecured Creditors’ Committee – Yellow Cab Cooperative
  Ms. Cuff received a Bachelor of Business Administration from The College of William & Mary with majors in Finance and Art History. She is a
  Certified Public Accountant and is a member of the AICPA, Association of Insolvency and Restructuring Advisors, the International Women’s
  Insolvency and Restructuring Confederation and the Virginia Society of Certified Public Accountants.




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  Fee Information
     DSI bills the services it renders on an hourly basis, according to DSI’s customary hourly rates. The
      rates, subject to periodic adjustments, charged by DSI professionals anticipated to be assigned to
      the Debtors’ cases are as follows:
          Bradley D. Sharp           $685
          Thomas P. Jeremiassen      $575
          Eric J. Held               $495
          Nicholas R. Troszak        $485
          Shelly L. Cuff             $360

     Besides those listed, others at DSI may be chosen for specific tasks in their areas of experience. The
      hourly rate ranges for other DSI consultants are:
          Senior Managing Directors              $525 to $825
          Directors/Managing Directors           $360 to $510
          Associates                             $145 to $375

     Biographies for all of DSI’s consultants may be viewed on our website at www.dsiconsulting.com

     Rates for all consultants are adjusted each year, effective January 1st




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